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                                                        - 460 -
                               Nebraska Supreme Court Advance Sheets
                                        308 Nebraska Reports
                                   STATE FARM FIRE &amp; CAS. CO. v. TFG ENTERS.
                                              Cite as 308 Neb. 460



                         State Farm Fire &amp; Casualty Company, appellee,
                              v. TFG Enterprises, LLC, and Jeffrey
                                Leonard, appellants, and Jeffrey
                                      Barkhurst, appellee.
                                                    ___ N.W.2d ___

                                        Filed February 19, 2021.   No. S-20-271.

                 1. Insurance: Contracts: Appeal and Error. The interpretation of an
                    insurance policy is a question of law, in connection with which an appel-
                    late court has an obligation to reach its own conclusions independently
                    of the determination made by the trial court.
                 2. Summary Judgment: Appeal and Error. In reviewing a summary
                    judgment, an appellate court views the evidence in the light most
                    favorable to the party against whom the judgment is granted and gives
                    such party the benefit of all reasonable inferences deducible from
                    the evidence.
                 3. ____: ____. An appellate court will affirm a lower court’s grant of sum-
                    mary judgment if the pleadings and admitted evidence show that there is
                    no genuine issue as to any material facts or as to the ultimate inferences
                    that may be drawn from the facts and that the moving party is entitled to
                    judgment as a matter of law.
                 4. Insurance: Contracts: Liability: Words and Phrases. An exclusion in
                    an insurance policy is a limitation of liability, or a carving out of certain
                    types of loss, to which the insurance coverage never applied.
                 5. Insurance: Contracts. When the terms of an insurance contract are
                    clear, a court gives them their plain and ordinary meaning as a reason-
                    able person in the insured’s position would understand them.
                 6. Insurance: Contracts: Appeal and Error. When an insurance contract
                    is ambiguous, an appellate court will construe the policy in favor of
                    the insured.
                 7. Insurance: Contracts: Words and Phrases. Regarding words in an
                    insurance policy, the language should be considered not in accordance
                    with what the insurer intended the words to mean but according to
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           Nebraska Supreme Court Advance Sheets
                    308 Nebraska Reports
              STATE FARM FIRE &amp; CAS. CO. v. TFG ENTERS.
                         Cite as 308 Neb. 460
    what a reasonable person in the position of the insured would have
    understood them to mean.
 8. Contracts: Words and Phrases. A contract is ambiguous when a word,
    phrase, or provision in the contract has, or is susceptible of, at least two
    reasonable but conflicting interpretations or meanings.
 9. Insurance: Contracts. The language of an insurance policy should be
    read to avoid ambiguities, if possible, and the language should not be
    tortured to create them.

  Appeal from the District Court for Douglas County: J.
Michael Coffey, Judge. Affirmed.
  William J. Hale, Thomas C. Dorwart, and Andrew W.
Simpson, of Goosmann Law Firm, P.L.C., for appellants.
  Patrick S. Cooper and Brian J. Fahey, of Fraser Stryker, P.C.,
L.L.O., for appellee State Farm Fire &amp; Casualty Company.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
    Papik, J.
    TFG Enterprises, LLC (TFG), and its principal, Jeffrey
Leonard, appeal from a district court order finding that State
Farm Fire &amp; Casualty Company (State Farm) had no obliga-
tion under an insurance policy to defend or indemnify them
in a lawsuit. The lawsuit alleged that TFG concealed facts and
made misrepresentations regarding the condition of a property
it sold. Because we agree with the district court that State Farm
had no potential liability under the policy, we affirm.
                      BACKGROUND
Underlying Lawsuit and
Request for Coverage.
  In March 2019, Jeffrey Barkhurst filed a lawsuit against
TFG and Leonard in the district court for Douglas County (the
underlying lawsuit). Barkhurst alleged that when he purchased
a house from TFG in August 2015, TFG failed to disclose
and actively concealed several defects, including the intrusion
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
            STATE FARM FIRE &amp; CAS. CO. v. TFG ENTERS.
                       Cite as 308 Neb. 460
of water, the presence of mold, substandard repairs, and struc-
tural issues. Based on these allegations, Barkhurst asserted that
TFG and Leonard were liable for breach of contract, negli-
gent misrepresentation, and fraudulent concealment. Barkhurst
claimed he was entitled to receive in damages the costs neces-
sary to bring the property to its represented condition at the
time of sale.
   State Farm had previously issued TFG a “Rental Dwelling
Policy of Insurance” (the rental policy) on January 6, 2015.
TFG and Leonard submitted a claim under the rental policy
requesting that State Farm provide a defense in the underlying
lawsuit. State Farm agreed to defend TFG and Leonard under
a reservation of rights.
State Farm’s Declaratory
Judgment Action.
   State Farm subsequently filed the declaratory judgment
action at issue in this appeal. State Farm sought a declaration
that it owed no coverage obligations to TFG or Leonard under
several provisions of the rental policy.
   State Farm alleged that it owed no coverage obligations
under the portion of the rental policy initially extending liabil-
ity coverage to TFG. That portion of the policy provided that
State Farm would indemnify and defend TFG “[i]f a claim
is made or a suit is brought against any insured for damages
because of bodily injury, personal injury, or property damage
to which this coverage applies, caused by an occurrence, and
which arises from the ownership, maintenance, or use of the
insured premises . . . .” (Emphasis omitted.) The rental policy
defined “occurrence” as “an accident, including exposure to
conditions” which results in “a. bodily injury; b. property
damage; or c. personal injury[,] during the policy period.”
(Emphasis omitted.) State Farm alleged that it owed no cover-
age to TFG because there had been no “occurrence” and no
“property damage.”
   State Farm also alleged that it owed no coverage obliga-
tions because of several exclusions in the rental policy. The
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
           STATE FARM FIRE &amp; CAS. CO. v. TFG ENTERS.
                      Cite as 308 Neb. 460
exclusions relied upon by State Farm provided that there
would be no liability coverage for “property damage to prop-
erty owned by any insured”; “property damage to property
rented to, occupied or used by or in the care of the insured”;
or “property damage or personal injury to premises [the
insured] sell[s], give[s] away, or abandon[s], if the property
damage, or personal injury arises out of those premises.”
(Emphasis omitted.)
Summary Judgment.
   State Farm filed a motion for summary judgment. At the
hearing on the motion for summary judgment, State Farm
offered and the district court received an affidavit signed by
its counsel. Attached to the affidavit were a copy of the rental
policy, a copy of the complaint in the underlying lawsuit,
copies of letters State Farm sent to TFG and Leonard reserv-
ing its rights, and discovery responses of TFG and Leonard.
In the discovery responses, TFG and Leonard admitted that
they purchased the house at issue in January 2015 and that
none of the conditions or defects identified in Barkhurst’s
lawsuit existed when it purchased the property. TFG and
Leonard also admitted that from the time they purchased the
house in January 2015 until the time they sold it in August
2015, they used the house and the house was in their care and
possession. In response to an interrogatory asking them to
describe in detail what they contended was the “occurrence”
triggering coverage under the rental policy, TFG and Leonard
objected that the question called for a legal conclusion. TFG
and Leonard did not offer any evidence in opposition to State
Farm’s motion for summary judgment.
   The district court granted State Farm summary judgment.
It found State Farm owed no coverage obligations for three
reasons. First, the district court found that any breaches of
the contract between Barkhurst and TFG, and any fraudulent
concealment or negligent misrepresentations by TFG, did not
cause property damage as required to trigger coverage under
the rental policy. Second, it determined that the allegations
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
           STATE FARM FIRE &amp; CAS. CO. v. TFG ENTERS.
                      Cite as 308 Neb. 460
of breach of contract, fraudulent concealment, and negligent
misrepresentation did not meet the definition of an “occur-
rence,” because they were not accidental. It also determined
that the exclusions relied upon by State Farm barred coverage.
   TFG and Leonard now appeal.
                  ASSIGNMENTS OF ERROR
   TFG and Leonard assign three errors on appeal. They con-
tend, restated, that the district court erred (1) by finding that
there was no “occurrence” which triggered coverage, (2) by
finding that any “occurrence” did not cause property damage
for purposes of the rental policy, and (3) by finding that the
exclusions barred coverage.
                   STANDARD OF REVIEW
   [1] The interpretation of an insurance policy is a question of
law, in connection with which an appellate court has an obliga-
tion to reach its own conclusions independently of the determi-
nation made by the trial court. Jones v. Shelter Mut. Ins. Cos.,
274 Neb. 186, 738 N.W.2d 840 (2007).
   [2] In reviewing a summary judgment, an appellate court
views the evidence in the light most favorable to the party
against whom the judgment is granted and gives such party
the benefit of all reasonable inferences deducible from the
evidence. Id.   [3] An appellate court will affirm a lower court’s grant of
summary judgment if the pleadings and admitted evidence
show that there is no genuine issue as to any material facts or
as to the ultimate inferences that may be drawn from the facts
and that the moving party is entitled to judgment as a matter of
law. State Farm Fire &amp; Cas. Co. v. Dantzler, 289 Neb. 1, 852
N.W.2d 918 (2014).
                          ANALYSIS
  In support of their first two assignments of error, TFG and
Leonard argue that the district court was mistaken to consider
only the allegations of Barkhurst’s lawsuit in determining
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
           STATE FARM FIRE &amp; CAS. CO. v. TFG ENTERS.
                      Cite as 308 Neb. 460
whether there was an “occurrence” and whether such an occur-
rence caused property damage. They contend that because
there is evidence that the defects to the house were not present
when TFG purchased it, there is a genuine issue of material
fact as to whether those defects were caused by some not yet
identified accident that took place while TFG owned the prop-
erty, which they suggest might be revealed in the adjudication
of the underlying lawsuit. They assert the rental policy would
provide coverage if such an accident could be identified and
thus State Farm is obligated to provide TFG and Leonard with
a defense.
   We are skeptical that TFG and Leonard have created a gen­
uine issue of material fact as to whether there was an “occur-
rence” under the rental policy and whether the underlying
lawsuit is a suit for property damage, but it is unnecessary for
us to reach those questions. As we will explain, even if it is
assumed that the defects in the house were caused by an acci-
dent that took place while TFG owned the property and that
the underlying lawsuit is a suit brought for property damage
and thus falls within the initial grant of coverage in the rental
policy, the exclusions relied upon by State Farm would still
bar coverage.
   [4,5] An exclusion in an insurance policy is a limitation
of liability, or a carving out of certain types of loss, to which
the insurance coverage never applied. See, e.g., D &amp; S Realty
v. Markel Ins. Co., 280 Neb. 567, 789 N.W.2d 1 (2010). To
determine whether an exclusion applies, the terms of the insur-
ance policy must be interpreted. See, e.g., Cincinnati Ins. Co.
v. Becker Warehouse, Inc., 262 Neb. 746, 635 N.W.2d 112(2001). A court construes insurance contracts like other con-
tracts, according to the meaning of the terms that the parties
have used. Merrick v. Fischer, Rounds &amp; Assocs., 305 Neb.
230, 939 N.W.2d 795 (2020). When the terms of an insurance
contract are clear, a court gives them their plain and ordinary
meaning as a reasonable person in the insured’s position would
understand them. Id.                             - 466 -
         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
           STATE FARM FIRE &amp; CAS. CO. v. TFG ENTERS.
                      Cite as 308 Neb. 460
   We read the exclusions in the rental policy to exclude
coverage for the damages claimed in the underlying lawsuit.
As we have noted, the exclusions section of the rental policy
provided that the liability coverage did not apply to “property
damage to property owned by any insured”; “property damage
to property rented to, occupied or used by or in the care of the
insured”; and “property damage or personal injury to premises
[the insured] sell[s], give[s] away, or abandon[s], if the prop-
erty damage, or personal injury arises out of those premises.”
(Emphasis omitted.) To the extent that, as TFG and Leonard
contend, the underlying lawsuit was one for property damage
to the house, it falls squarely within each of these exclusions.
It is undisputed that the house was owned, in the care of, and
then sold by TFG.
   We are not blazing a new trail by finding that there is no
possibility of coverage under the exclusions in the rental
policy. Many other courts have found that similar insurance
policies containing exclusions for property damage to property
owned by or occupied by the insured provide no liability cov-
erage when the insured is sued for making misrepresentations
in the sale of property. See, e.g., Allstate Ins. Co. v. Chaney,
804 F. Supp. 1219 (N.D. Cal. 1992); State Farm Fire and Cas.
Co. v. Neumann, 698 F. Supp. 195 (N.D. Cal. 1988); Shelter
Mut. Ins. Co. v. Ballew, 203 S.W.3d 789 (Mo. App. 2006); 1st
Londonderry Dev. Corp. v. CNA Ins., 140 N.H. 592, 669 A.2d
232 (1995). Similarly, many courts have found that insurance
policies containing exclusions for property damage to property
that is sold by the insured provide no liability coverage for
lawsuits alleging misrepresentations in the sale of property.
See, e.g., State Farm Fire and Cas. Co. v. Wimberly, 877 F.
Supp. 2d 993 (D. Haw. 2012); Stull v. American States Ins. Co.,
963 F. Supp. 492 (D. Md. 1997); Borden, Inc. v. Affiliated FM
Ins. Co., 682 F. Supp. 927 (S.D. Ohio 1987).
   [6,7] The only argument TFG and Leonard can muster in
opposition to the district court’s conclusion that the exclu-
sions barred coverage is that the exclusions are ambiguous. In
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
            STATE FARM FIRE &amp; CAS. CO. v. TFG ENTERS.
                       Cite as 308 Neb. 460
support of this argument, TFG and Leonard correctly observe
that when an insurance contract is ambiguous, we will con-
strue the policy in favor of the insured. See Henn v. American
Family Mut. Ins. Co., 295 Neb. 859, 894 N.W.2d 179 (2017).
They also correctly point out that words in an insurance policy
are to be interpreted not in accordance with the insurer’s intent,
but what a reasonable person in the position of the insured
would have understood them to mean. See id. But even with
these principles in mind, we discern no ambiguity.
   [8,9] A contract is ambiguous when a word, phrase, or provi-
sion in the contract has, or is susceptible of, at least two rea-
sonable but conflicting interpretations or meanings. American
Fam. Mut. Ins. Co. v. Wheeler, 287 Neb. 250, 842 N.W.2d 100(2014). Further, the language of an insurance policy should be
read to avoid ambiguities, if possible, and the language should
not be tortured to create them. Cincinnati Ins. Co. v. Becker
Warehouse, Inc., 262 Neb. 746, 635 N.W.2d 112 (2001). TFG
and Leonard offer no reasonable alternative interpretation of
the exclusions, and there is thus no basis for a finding that the
exclusions are ambiguous.
   Given the plain language of the exclusions, State Farm had
no potential liability from the underlying lawsuit under the
rental policy. It thus had no duty to defend or indemnify TFG
and Leonard. See Merrick v. Fischer, Rounds &amp; Assocs., 305
Neb. 230, 939 N.W.2d 795 (2020). The district court did not
err in granting summary judgment to State Farm.
                       CONCLUSION
  Because the district court did not err in finding that State
Farm owed no coverage obligations to TFG and Leonard,
we affirm.
                                                  Affirmed.
